Case 2:01-Cr-20212-BBD Document 23 Filed 05/10/05 Page 1 of 2 Page|D 30

UNITED sTATEs DIsTRlCT CouRT Fu_§u % __ _ _ n.c:.
wEsTERN DISTRICT oF TENNESSEE
Western Division 05 [1§\,' 1 3 PH_ 3: lig

 

 

UNITED STATES OF AMERICA
v. Case No. Z:OlchOZIZ-OI~D

]AMES HUTTO

 

ORDER ON CONTINUANCE

 

IT APPEARING TO THE COURT that for good eause shown the hearing on the violation
ofsupervised release Whieh is eurrently scheduled in this clause on Mondav, May 16, 2005 at 1:30

p.in. should he Continued;
IT IS THEREFORE ORDERED, AD]UDGED AND DECREED that the hearing on the

petition lot violation of supervised release be and the same hereby is eontinued until

gene \\,aoos z)¢ \'.15 <>rv\

%L;Q£”M »
1 nos

Date: WL/LV]//al{ MU y

 

   

  

UNITED sATE DISTRICT COURT - WTERN DISTRCT OFTENNESSEE

 
 

Notice of Distribution

This notice confirms a copy cf the document docketed as number 23 in
case 2:0]-CR-202]2 Was distributed by faX, mail, or direct printing on
May ]8, 2005 tc the parties listed.

 

 

G. Coble Caperton

LAW OFFICE OF LINDA KHUMALO
P.O. BOX 40184

l\/lemphis7 TN 3 8174

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Benard Weinman

LAW OFFICE OF BENARD WEINMAN
275 Jefferson Ave

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

